       Case 1:12-cr-00328-LJO-SKO Document 224 Filed 08/01/17 Page 1 of 1



 1

 2

 3
                              UNITED STATES DISTRICT COURT
 4
                                EASTERN DISTRICT OF CALIFORNIA
 5

 6    UNITED STATES OF AMERICA,                        CASE NO. 1:12-CR-00328-LJO-SKO-1
 7                            Plaintiff-
                              Respondent,
 8                                                     ORDER REFERRING CASE TO FEDERAL
             v.                                        DEFENDER’S OFFICE
 9
      RAMON ANDRADE,
10
                              Defendant-               ECF No. 221
11                            Petitioner.
12

13          On July 25, 2017, Defendant-Petitioner Ramon Andrade (“Defendant”) filed a pro se motion
14   to reduce his sentence pursuant to Title 18, United States Code, Section 3582(c)(2) (“§ 3582”) and
15   Amendment 782. ECF No. 221. Pursuant to Eastern District of California General Order 546, the
16   Court now appoints the Federal Defender’s Office (“FDO”) to represent Defendant this matter. From
17   the filing date of this order, the FDO SHALL have 30 days to notify the Court whether it intends to
18   file a supplement to Defendant’s § 3582 motion, or, whether it does not intend to file a supplement.
19   The Clerk of Court is DIRECTED to add the FDO’s Panel Administrator, Connie Garcia
20   (Connie_Garcia@fd.org), to the service list prior to docketing of this Order.
21
     IT IS SO ORDERED.
22

23      Dated:     July 31, 2017                           /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
24

25

26
27

28
